    Case 0:18-cv-61075-FAM Document 30-1 Entered on FLSD Docket 09/20/2018 Page 1 of 3


ekoz@kozlawfirm.com

From:                   Roslyn Stevenson <roslyn.rlslaw@gmail.com>
Sent:                   Friday, July 27, 2018 8:29 PM
To:                     ekoz@kozlawfirm.com
Cc:                     anat.rlslaw@gmail.com; pdauz@kozlawfirm.com
Subject:                Re: Activity in Case 0:18-cv-61075-FAM Batista v. South Florida Womans Health Associates, Inc. et al
                        Motion to Deposit Funds


Elliot: 
Yes. I do.  
There is no settlement. Never was.  
If I file a response, I will request fees.  
 

 
Sent from my iPhone. 
Please excuse any typographical errors.  
‐‐  
Regards, 
Roslyn L. Stevenson, Esq. 
Stevenson Law, PL 
Post Office Box 800936 
Aventura, FL 33280‐0936 
Tel  305.935.9533 
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On Jul 27, 2018, at 8:14 PM, <ekoz@kozlawfirm.com> <ekoz@kozlawfirm.com> wrote: 

         Roslyn, 
           
         I will be filing a renewed motion to approve settlement. Do you oppose? 
           
                                 E L L I O T K O Z O L C H Y K / Attorney
           <image001.png>     
                                 e: ekoz@kozlawfirm.com t: 786.924.9929 f: 786.358.6071
                                 a: 320 S.E. 9th St, Fort Lauderdale, FL 33316 
           
         From: cmecfautosender@flsd.uscourts.gov <cmecfautosender@flsd.uscourts.gov>  
         Sent: Friday, July 27, 2018 7:30 PM 
         To: flsd_cmecf_notice@flsd.uscourts.gov 
         Subject: Activity in Case 0:18‐cv‐61075‐FAM Batista v. South Florida Womans Health Associates, Inc. et 
         al Motion to Deposit Funds 
                                                                 1
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                                                U.S. District Court 

                                          Southern District of Florida 

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   The following transaction was entered by Stevenson, Roslyn on 7/27/2018 at 7:30 PM EDT and filed on 
   7/27/2018  
   Case Name:       Batista v. South Florida Womans Health Associates, Inc. et al 
   Case Number:     0:18‐cv‐61075‐FAM        




   Filer:           Edward D. Eckert 
                    South Florida Womans Health Associates, Inc. 
   Document Number: 24  

   Docket Text:  
   MOTION to Deposit Funds by Edward D. Eckert, South Florida Womans Health
   Associates, Inc.. (Attachments: # (1) Text of Proposed Order)(Stevenson, Roslyn)  

    
   0:18‐cv‐61075‐FAM Notice has been electronically mailed to:  
    
   Elliot Ari Kozolchyk     ekoz@kozlawfirm.com, ahaggerty@kozlawfirm.com, info@kozlawfirm.com, 
   ljamito@kozlawfirm.com, lvillamor@kozlawfirm.com, mbinder@kozlawfirm.com, 
   pdauz@kozlawfirm.com, tcontreras@kozlawfirm.com  
    
   Roslyn Lezek Stevenson     roslyn.rlslaw@gmail.com, anat.rlslaw@gmail.com  
    
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   Document description:Main Document  
   Original filename:n/a 
   Electronic document Stamp: 
   [STAMP dcecfStamp_ID=1105629215 [Date=7/27/2018] [FileNumber=17821484‐ 
   0] [8cb0a3023e3259038a11c50295a300bbdca3d0578496c3db146b554721666b97f6 
   80738e4729f4a758cb3761cc5983be19dc8eacfbe73de076b6ebef192e794c]] 
   Document description:Text of Proposed Order  
   Original filename:n/a 
                                                         2
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    Electronic document Stamp: 
    [STAMP dcecfStamp_ID=1105629215 [Date=7/27/2018] [FileNumber=17821484‐ 
    1] [1945fc936c4eefc324db943a32a73701df67ea88368617acc85bee465e4bee719a 
    47ccaf612a6ba3f6116fc958b4d741f1004e83da379373abcb57053d3c7859]] 
     




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